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                         IN THE UNITED STATES DISTRICT COURT

                       FOR THE EASTERN DISTRICT OF LOUISIANA



 LOFTIN GROUP, L.L.C.                            *    CIVIL ACTION NO. ______________
            Plaintiff,                           *
                                                 *
 VERSUS                                          *    SECTION _________
                                                 *
 GENERAL SECURITY INDEMNITY                      *
 COMPANY OF ARIZONA;                             *    MAGISTRATE JUDGE _______
 INDIAN HARBOR INSURANCE
 COMPANY; STEADFAST INSURANCE
 COMPANY; QBE SPECIALTY
 INSURANCE COMPANY; HDI
 GLOBAL SPECIALTY SE; UNITED
 SPECIALTY INSURANCE COMPANY;
 LEXINGTON INSURANCE
 COMPANY; OLD REPUBLIC UNION
 INSURANCE COMPANY; GEOVERA
 SPECIALTY INSURANCE COMPANY;
 TRANSVERSE SPECIALTY
 INSURANCE COMPANY;
 CERTAIN UNDERWRITERS AT
 LLOYDS OF LONDON –
 SUBSCRIBING TO CERTIFICATE
 AMR-74207
            Defendants.

                                        COMPLAINT

       NOW INTO COURT, through undersigned counsel, comes Plaintiff, LOFTIN GROUP,

L.L.C. who, through undersigned counsel, respectfully represents:

                                      I.      PARTIES

1.     Made Plaintiff herein is LOFTIN GROUP, L.L.C., (hereinafter sometimes referred to as

“Insured”), a domestic Louisiana Partnership domiciled at 935 Gravier St, Ste 1006, New Orleans,

LA 70122 in the State of Louisiana.
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2.   Made Defendants herein are:

            a. GENERAL SECURITY INDEMNITY COMPANY OF ARIZONA,

               subscribing to policy 10T029659-1561-21-00, with a principal place of

               business at 28 Liberty Street, Suite 5400, New York, NY 10005

            b. INDIAN HARBOR INSURANCE COMPANY, subscribing to policy

               AMP7540199-00, with a principal place of business at 505 Eagleview Blvd,

               Suite 100, Eaton, PA 19341-1120;

            c. STEADFAST           INSURANCE      COMPANY,        subscribing   to   policy

               CPP1140900-00, with a principal place of business at 1299 Zurich Way,

               Schaumberg, IL 60196;

            d. QBE SPECIALTY INSURANCE COMPANY, subscribing to policy MSP-

               32339, with a principal place of business at 88 Pine Street, 16th Floor, Wall

               Street Plaza, New York NY, 10005.

            e. HDI GLOBAL SPECIALTY SE, subscribing to policy HAN-26388-00,

               whose agent is Mendes and Mount, LLP, 750 Seventh Avenue New York, NY

               10019

            f. UNITED SPECIALTY INSURANCE COMPANY, subscribing to policy

               USI-28867-00, with a principal place of business at 1900 L. Don Dodson Drive

               Bedford, TX 76021

            g. LEXINGTON INSURANCE COMPANY, subscribing to policy LEX-

               064850696-00, with a principal place of business at 99 High Street, Boston,

               MA 02110

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             h. OLD REPUBLIC UNION INSURANCE COMPANY, subscribing to policy

                 ORAMPR011090-00, with a principal place of business at 370 North Michigan

                 Avenue, Chicago, IL 60601, whose general counsel agent is located at 370

                 North Michigan Avenue Chicago, IL 60601

             i. GEOVERA SPECIALTY INSURANCE COMPANY, subscribing to policy

                 GVS-12746-00, with a principal place of business at 1455 Oliver Road,

                 Fairfield, CA 94534;

             j. TRANSVERSE SPECIALTY INSURANCE COMPANY, subscribing to

                 policy TSAMPR0002218-00, with a principal place of business at 155 Village

                 Boulevard, Suite 205, Princeton, NJ 08540;

             k. CERTAIN        UNDERWRITERS            AT     LLOYDS      OF    LONDON        –

                 SUBSCRIBING TO CERTIFICATE AMR-74207, which upon information

                 and belief is organized under the laws of the United Kingdom with its principal

                 place of business at One Lime Street, London EC3M 7HA with an agent care

                 of Thompson Heath and Bond Limited located at 107 Leaderhall Street London

                 ECA 4AF. As such, this Syndicate is considered a citizen of Great Britain, a

                 foreign country and may be served with process to Lloyd’s America, Inc.,

                 Attention: Legal Department, 280 Park Avenue, East Tower, 25 Floor, New

                 York, New York 10017

                 (Hereinafter collectively referred to as “Defendants”)

3.    Defendants issued and sold the above respective insurance policies and provided

commercial property insurance coverage to the Insured, thereby transacted business in New




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Orleans Louisiana. Defendants are surplus lines insurance providers authorized to issue insurance

policies in the state of Louisiana by the Louisiana Insurance Commissioner.

                             II.       JURISDICTION AND VENUE

4.     Jurisdiction of this court is invoked over the instant actions pursuant to 28 U.S.C. § 2201

as well as 28 U.S.C. §1332(a)(1), as there is complete diversity of citizenship between Plaintiff

and Defendants and the amount in controversy in this case and the pendant declaratory action

exceed Seventy-FiveThousand Dollars ($75,000), exclusive of interest and any and all costs.

5.     Venue is proper in this Judicial District under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to Plaintiff’s claims occurred in this judicial district,

and/or a substantial part of property that is the subject of the action is situated here.

6.     This Court has personal jurisdiction over Defendants because Defendants have continuous

and systematic business activities in Louisiana and this judicial district. Upon information and

belief, Defendants’ business activities include, among other things, executing contracts of

insurance with various Louisiana based entities and consumers.

7.     This Court has subject matter jurisdiction over the instant actions because an actual case or

controversy exists between the parties, as is evidenced by the facts and circumstances described

herein. Plaintiff is, therefore, entitled to bring this action in this Court.

8.     The amount in controversy is greater than Seventy Five Thousand Dollars.

                                III.   FACTUAL BACKGROUND

9.     At all relevant times, the Plaintiff, Loftin Group had an insurable interest in the following

locations, consisting of multiple apartment complexes and residential rental units that were

insured under account 832457 by Defendants from May 10, 2021 to May 10, 2022:

7700 Downman Road New Orleans, LA 70126                 1526-28 Mazant St New Orleans, LA 70117
1621-23 Dufossat St New Orleans, LA 70115               525 Richard Ave, River Ridge, LA 70123
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1129-31 Independence St, New Orleans, LA 70117 3714 Marias St, New Orleans, LA 70117
2621-23 Dante St, New Orleans, LA 70118              2120 Willow St, New Orleans, LA 70113
2114-16 Willow St, New Orleans, LA 70113             3300 Preston Place. New Orleans 70131
2716-18 Jackson Ave, New Orleans, LA 70131
6235 Chef Menteur Hwy, New Orleans, LA 70126
1400-1423 Independence St, New Orleans, LA 70117
200-02 S. Jefferson Davis Pkwy, New Orleans, LA 70119
               (Collectively referred to as the “Properties”).

10.    Loftin Group contracted with Defendants to insure the Properties for damages and loss of

business income against perils including hurricanes.

11.    Defendants subscribed and issued their respective Policies to the Insured as designated in

Paragraph 2 A through I respectively (hereinafter collectively referred to as the “Policy”), see

Declaration Page- Exhibit 1, in force and full effect during the period of 05/10/2021 to

05/10/2022. Defendants assessed the risk and provided Replacement Cost coverage following

their underwriting evaluation of the Insured’s Properties.

12.    Insured paid all respective premiums associated with the Policies when due in a timely

manner and without delay.

13.    In return for Insured’s timely payment of the premium, Insured reasonably expected that

the Defendants would comply with the terms of the policy and pay for any and all covered losses

that may occur in accordance with the terms of the Policies and Law.

14.    On August 29, 2021, at around 11:55 am, Hurricane Ida, a Category 4 Hurricane with

maximum sustained winds of 150 miles per hour and a minimum pressure of 930 mb made

landfall at Port Fourchon on the Gulf Coast in Lafourche Parish and tracked 58 miles through the

city of New Orleans, causing widespread catastrophic damage throughout Southeast Louisiana.

15.    Hurricane Ida was tied with Hurricane Laura and the 1856 Last Island Hurricane as the

strongest landfalling Hurricanes in Louisiana on record.



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16.    Hurricane Ida retained its Category 4 windspeeds for four hours after landfall and retained

Category 3 windspeeds for an additional 4 hours after.

17.    While the Policy was in full force and effect, the Insured’s Properties sustained extensive

damages resulting from Hurricane Ida consisting generally of extensive damages to multiple

buildings of their roofing systems, façades, and interior damages as a consequence.

18.    Insured provided timely and proper notice of the claim to the Defendants. Defendants

issued claim number 4186796 to the Hurricane Ida Claim and eventually assigned the claim to

Sedgwick Adjuster Esther Mumuo who would initially oversee the claim on behalf of Defendants.

19.    Representatives of the Insured and the Defendants conducted multiple site visits and

exchanged estimates to work though the valuation of the claim.

20.    From the date of loss to date, Insured complied with the applicable provisions of the Policy,

including exhausting all reasonable efforts to mitigate the Loss and provide unfettered access to

the loss site from the date of loss to date.

21.    On or about April 20, 2022 Defendants authorized and issued a single Actual Cash Value

payment to the Insured based on an agreed proof of loss.

22.    On June 2, 2023 the Insured submitted its full and final detailed proof of loss for

replacement cost value in accordance with the Policy.

23.    To date, the Defendants have failed to make the timely payment of the sums due as

illustrated in Insured June 2, 2023 Proof of Loss.

24.    Insured submitted a total and final detailed Proof of Loss for its Business Income/ Loss of

Rents, and Extra Expense claim on June 28, 2023. To date no payment has been made to the

Insured for any Business Income/ Loss of Rents, and Extra Expense claim for any of the Insured

locations.

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25.   The Insured provided timely and sufficient notice to Defendants of their intent to make a

claim for Replacement Costs under the terms of the policy, as repair construction is completed.

26.   Due to the acts and omissions of Defendants and their agents that violate the terms of the

Policy by failing to compensate the Insured according the facts and the terms of the Policy, the

Insured has been forced to undertake all costs of repair with any significant compensation from

the Defendants.

27.   In compliance with its duties, Insured cooperated on multiple occasions with Defendants

and their agents, including adjusters, engineers, and consultants, by making the properties fully

and completely available for the viewing and inspection of the physical loss evidence by

Defendants as requested on multiple occasions over multiple days each, and providing multiple

detailed supporting Proofs of Loss for its buildings damages due to Hurricane Ida and this

cooperation in no way waives Defendants’ duties under their Policy or the law.

28.   Insured has incurred, and may continue to incur, consequential damages and additional

expenses in making repairs because Defendants failed to timely and adequately compensate it for

its losses under the Policy.

29.   Insured has incurred, and may continue to incur professional expenses, including, but not

limited to, construction and financial expert fees/costs and attorney’s fees, to obtain a true

measure of the costs to repair the damages and to identify the value of the business income losses

since Defendants failed to adequately and timely estimate and pay covered claims in violation of

the Policy.

30.   Due to Defendants’ failures in the adjusting process and erroneous representations, Insured

retained legal counsel to review all claim matters to determine whether Defendants complied with

the terms of its Policy and law.

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31.   The Insured’s proofs of loss submissions provided further satisfactory proof of loss, in so

far as it contained all the Insured’s investigation of the claim and sufficient information and detail

providing the extent of the loss to allow the Defendants to properly determine and adjust the

losses for all coverages provided by the Policy.

32.   Defendants have failed to timely and reasonably adjust and pay the losses and respond to

the formal proofs of loss submitted by Plaintiff in accordance with the Policy terms and the law.

                                   IV. CAUSES OF ACTION

                       A. BREACH OF THE INSURANCE CONTRACT

33.   Plaintiff realleges and re-avers the allegations contained in the preceding paragraphs,

above, as if restated herein.

34.   An insurance contract, exists in full force or the time periods in question between the

Insured and Defendants.

35.     Insured has fulfilled, or used all reasonable efforts to fulfill, all necessary obligations

under the Policy in good faith.

36.   According to the Policy, after application of the respective deductibles, Insured is entitled

to recovery of all benefits, payments, and proceeds due under the policy resulting from the

Hurricane Ida damage to the Insured Properties, including, but not limited to the actual cash value

of the loss, the replacement cost value of the loss, the loss of business income, the loss of extra

expenses.

37.   Despite having sufficient proofs of loss, access to the property, open door access to Insured

repair construction providers and adjusting consultants to review and discuss any questions with

the proofs of loss, Defendants failed to timely adjust the claim and tender adequate payments

under the Policy.

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38.   Upon information and belief, Defendants purposefully or negligently failed to include

adequate overhead and profit in its estimate of damages.

39.   By purposefully and/or negligently failing to timely adjust the loss and tender undisputed

insurance proceeds, Defendants breached the terms of the Policy.

40.   By manipulating its pricing software to artificially suppress the cost of repairs below

market value, Defendants breached the terms of the Policy.

41.   By failing to adequately compensate Plaintiff for the damages to the Properties, as required

by the Policy, Defendants breached the terms of the Policy.

42.   Plaintiff has suffered and continues to suffer damages as a result of the breaches of the

insurance contract by Defendants.

43.   The failure of Defendants and their agents to reasonably and timely adjust and pay the

building claims according to the Policy terms, industry standards, and law has breached the

insurance contract, delayed repair of the respective buildings to date, caused consequential

damages to the Insured, and continues to extend the period of restoration for business income

losses under the terms of the policy.

44.   The failure of Defendants to adjust and make timely payments on the business interruption,

loss of rents, and extra expense claims has delayed needed repairs, breached the insurance contract

and caused consequential financial losses to the Insured resulting in loss of potential tenants, and

additional costs to Insured’s interest.

45.   Louisiana law provides claims handling timelines which are strictly construed. Durio v.

Horace Mann Ins. Co., 74 So.3d 1159 (La. 10/25/11).




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46.     LA R.S. 22§1893 B. provides that if damage to immovable property is covered, in whole

or in part, under the terms of the policy of insurance, the burden is on the insurer to establish an

exclusion under the terms of the policy.

47.   Under La. Stat. Ann. §22:1892(A)(1), insurers must pay the amount of any claim due to

any insured within thirty (30) days after receipt of satisfactory proof of loss from the insured or

any party in interest. Under La. Stat. Ann. §22:1892(A)(4), all insurers must make a written offer

to settle any property damage claim, within thirty (30) days after receipt of satisfactory proof of

loss of that claim. Defendants failed to make legally sufficient attempts to settle Insured damaged

claims in a timely matter in accordance with Louisiana Law.

48.   An insurer has satisfactory proof of loss once it has sent an adjuster to inspect the property,

even if the adjuster provides an incomplete report, because the insurance company had the

opportunity to discover the extent of the damages. J.R.A. Inc. v. Essex Ins. Co., 2010-0797 (La.

App. 4 Cir. 5/27/11), 72 So. 3d 862; see also Aghighi v. Louisiana Citizens Prop. Ins. Corp., 2012-

1096 (La. App. 4 Cir. 6/19/13), 119 So. 3d 930.

49.     The Defendants and their agents knew, or should have known, that undisputed amounts

of a claim must be disbursed and cannot be delayed because other portions of the claim have not

been decided. Aghighi v. Louisiana Citizens Prop. Ins. Corp., 2012-1096 (La. App. 4 Cir.

6/19/13), 119So. 3d 930.

                                      V.      DAMAGES

50. Defendants are liable to Insured under the following legal theories:

      a)      Breach of Contract;



      b)      Any and all other legal theories of recovery that become apparent during the
              discovery process and proven at the trial of this matter.
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51. As a result of Defendants’ breaches of contract and other acts and omissions, Insured has

incurred the following, non-exclusive damages:

    a)      Actual repair, mitigation, and renovation costs;

    b)      Loss of business income and rents due to covered business interruption;

    c)      Loss of Extra Expenses still due yet unpaid by Defendants;

    d)      Diminution and accelerated depreciation of the value of Insured Properties;

    e)      Expenses related to preservation, restoration, mitigation and/or storage of property;

    f)      Loss of personal business property including, but not limited to, fixtures, furniture,

            appliances, electronics, décor, medical equipment and supplies, and service

            equipment and supplies;

    g)      Consequential damages, including but not limited to loan interest required to fund

            repairs and costs due in accordance with the Policy yet unpaid by Defendants;

    h)      Future damages to be sustained to mitigate losses due to failure of Defendants to

            comply with the terms of its Policies and the law;

    i)      Attorney’s fees, penalties, other expert and professional fees, and litigation costs

            associated with the bringing of this action; and

    j)      Any and all other damages discovered and shown at the trial of this matter.

                                  VI.     JURY DEMAND

52. Plaintiff, Loftin Group, requests a trial by jury on all issues.




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                                  PRAYER FOR RELIEF

     WHEREFORE, Plaintiff herein, LOFTIN GROUP, L.L.C. (Insured) prays that this

  complaint be filed into the record and that Defendants, GENERAL SECURITY

  INDEMNITY COMPANY OF ARIZONA; INDIAN HARBOR INSURANCE COMPANY;

  HDI GLOBAL SPECIALITY SE; UNITED SPECIALITY INSURANCE COMPANY;

  LEXINGTON INSURANCE COMPANY; OLD REPUBLIC UNION INSURANCE

  COMPANY; GEOVERA SPECIALTY INSURANCE COMPANY; TRANSVERSE

  SPECIALITY INSURANCE COMPANY; CERTAIN UNDERWRITERS AT LLOYDS OF

  LONDON – SUBSCRIBING TO CERTIFICATE AMR-74207, be cited to appear and

  answer the complaint herein within the delays fixed by law and that after due proceedings are

  had, that there be a money judgment for all sums due Plaintiff, plus attorneys fees and costs,

  plus judicial interest until paid, and any and all equitable relief in favor of LOFTIN

  GROUP, L.L.C.

                                                   Respectfully Submitted,

                                                   /s/ Konrad Jackson
                                                   J. Konrad Jackson (LA #26055)
                                                   Konrad Jackson, Attorney at Law, P.L.L.C.
                                                   825 Baronne Street
                                                   New Orleans, LA 70113
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                                                   ATTORNEY FOR PLAINTIFF
                                                   LOFTIN GROUP, L.L.C.


PLEASE HOLD SERVICE AT THIS TIME.



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